861 F.2d 264Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Samuel Lee MCCAULEY, Petitioner-Appellant,v.Gary DIXON, Attorney General of North Carolina, Respondents-Appellees.
    No. 88-7152.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 11, 1988.Decided Sept. 27, 1988.
    
      Samuel Lee McCauley, appellant pro se.
      Barry Steven McNeill, Office of Attorney General of North Carolina, for appellees.
      Before ERVIN and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Samuel Lee McCauley seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  McCauley v. Dixon, CA-87-718-S (M.D.N.C. May 31, 1988).  McCauley's motion to proceed in forma pauperis on appeal is denied.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    